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Attorneys for Plaintiffs GENERAL
FINANCE GROUP, INC., MARC
PEREZ, RONALD F. VALENTA,
LARRY D. TASHIJIAN as Trustee of the
Tashjian Family Trust, WILLIAM H.
QUIROS, as Trustee of the William H.
uiros Trust, TASHJIAN FAMILY
LIMITED PARTNERSHIP, ANDREW
HARDING, and MARK C. KEITH

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WESTERN DIVISION

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GENERAL FINANCE GROUP, INC., | Case No.
a California corporation, MARC
PEREZ, an individual, RONALD F.

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Family Trust, WILLIAM H. QUIROS,
as Trustee of the William H. Quiros
Trust, TASHJIAN FAMILY LIMITED
PARTNERSHIP, ANDREW
HARDING, an individual, MARK C.
KEITH, an individual.

Plaintiffs,

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Vv.

U.S. BANK NATIONAL
ASSOCIATION, a national banking
25 || association, and

UNITED SITE SERVICES, INC., a
26 || Delaware Corporation.

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27 Defendants.

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

VALENTA, an individual, LARRY D. COMPLAINT FOR
TASHJIAN as Trustee of the Tashjian DECLARATORY JUDGMEN

COMPLAINT FOR DECLARATORY JUDGMENT

 
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Plaintiffs GENERAL FINANCE GROUP, INC., a California corporation,
MARC PEREZ, an individual, RONALD F. VALENTA, an individual, LARRY D.
TASHJIAN as Trustee of the Tashjian Family Trust, WILLIAM H. QUIROS, as
Trustee of the William H. Quiros Trust, TASHJIAN FAMILY LIMITED
PARTNERSHIP, ANDREW HARDING, an individual, and MARK C. KEITH, an
individual (collectively “Plaintiffs”), by and through their attorneys file this
Complaint for Declaratory Judgment and allege and state as follows:

NATURE OF THE ACTION

I, This is an action for a declaratory judgment pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201-2202.
PARTIES

2. Plaintiff GENERAL FINANCIAL GROUP, INC., (°GFG”) is and at
all times mentioned herein was, a corporation organized under the laws of the State
of California, validly existing and in good standing with a principal place of
business at 39 East Union Street, Pasadena, California.

3. Plaintiff MARC PEREZ (‘Perez”) is a resident of California, and at all
times mentioned herein was a shareholder of S&S Portable Services, Inc., a
Delaware corporation S&S”).

4, Plaintiff RONALD F. VALENTA (‘Valenta”) is a resident of
California, and at all times mentioned here was, a shareholder of S&S.

5. Plaintiff LARRY D. TASHJIAN (“Tashjian”) is a resident of
California and is at least one of the Trustees of the Tashjian Family Trust, and
brings suit in his capacity as Trustee, and is and at all times mentioned herein, was a
shareholder of S&S on behalf of the Tashjian Family Trust.

6. Plaintiff WILLIAM H. QUIROS (“Quiros”) is a resident of California,
is the Trustee of the William H. Quiros Trust, and is sued in his capacity as Trustee
and is, and at all times mentioned herein, was a shareholder of S&S on behalf of the
William H. Quiros Trust.

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COMPLAINT FOR DECLARATORY JUDGMENT

 

 
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| 7. Plaintiff TASHIIAN FAMILY LIMITED PARTNERSHIP (“Tashjian
2|| Partnership”) is a limited partnership with its principal location in Pasadena
3 | California and is, and at all times mentioned herein, was a shareholder of S&S.
4 8. Plaintiff ANDREW HARDING (“Harding”) is a resident of California,
5 || and at all times mentioned herein was a shareholder of S&S.
6 9. Plaintiff MARK C. KEITH (‘Keith’) is a resident of California, and at
7 | all times mentioned herein, was a shareholder of S&S.
) 10. GFG was appointed by Plaintiffs to be Plaintiffs’ Stockholder
9||Representative to represent Plaintiffs for all purposes in connection with the
0 || Holdback funds (as described infra).

11. Defendant UNITED SITE SERVICES, INC. (“USS”) is and at all

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times mentioned herein, was a Delaware corporation organized under the laws of the

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13 |State of Delaware, with a principal place of business at 118 Flanders Road,

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14), Westborough, Massachusetts.
15 12. USS is a real party in interest as it has previously made claims to

approximately $1,208,885.00 plus accrued interest held in an escrow account (the

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17 ||““Holdback Funds”) established pursuant to an escrow agreement among GFG, USS
18jiand U.S. Bank National Association (“U.S. Bank”) and has availed itself of this
19 || Court’s jurisdiction in such a claim by bringing a Breach of Contract action against
20 || Plaintiffs in this court in Case No. 2:18-cv-03331-DPP-RAO.

21 13. Defendant U.S. Bank is a national banking association that served as
22, Escrow Agent pursuant to the Escrow Agreement.

23 JURISDICTION AND VENUE

24 14. Venue is proper in this Court because the written agreements that
25| provide the basis for Plaintiffs’ relief were at least partially entered into and
26 || performed in Los Angeles County, and because at least one of the defendant
27 || corporation’s place of business is in Los Angeles County.

28 15. The relief sought herein is for a declaratory judgment that Plaintiffs are

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COMPLAINT FOR DECLARATORY JUDGMENT

 

 

 
 

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entitled to all of the Holdback funds.

16. Further, diversity jurisdiction exists because Defendant USS is
incorporated in Delaware and has its principal place of business in Massachusetts
(see { 11, and Plaintiffs consist of citizens of California and Delaware and the
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
costs (see 28 U.S.C. § 1332(a)).

RELATED CASES

17. This case arises from a conflict that has already served as the basis for
one previous action in this court: United Site Services, Inc. v. Valenta, et al Case No.
2:18-cv-03331-DDP-RAO (C.D. Cal.). That case was dismissed without prejudice
on July 3, 2018.

18. This case merely seeks declaratory judgment as to ownership of the
Holdback funds and includes USS as a defendant only as a party in interest.
Plaintiffs do not raise the issue of breach of contract herein.

GENERAL ALLEGATIONS

19. S&S was a business located in Los Angeles County, California that
provided temporary fences and portable restroom facilities to business and
construction sites. S&S was owned by shareholders Valenta, Tashjian as Trustee,
Quiros as Trustee, Harding, Perez and Keith (“Shareholder Plaintiffs”).

20. On or about April 23, 2014, the shareholders of S&S and Defendant
USS entered into a written agreement (entitled Stock Purchase and Sale Agreement
for the Purchase of All Outstanding Shares of S&S Portable Services, Inc. (“Sale
Agreement”, Exhibit A)) under which USS purchased all outstanding shares of S&S
stock from the S&S Shareholders.

21. The Sales Agreement provided that the Gross Purchase Price was
$33,000,000, which was to be deposited via wire transfer of immediately available
funds, minus (i) any Debt Pay-Off Amounts, (ii) the Assumed Debt, and (iii) the

Holdback Funds as deposited with the Escrow Agent.

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COMPLAINT FOR DECLARATORY JUDGMENT

 
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22. Section 3.04(b) of the Sale Agreement provides that “[o]n the Closing
Date, Buyer (“USS”) will deposit the Holdback with the Escrow Agent (“U.S. Bank
National Association”) by wire transfer of immediately available funds. The
Holdback is to be paid to Sellers or Buyer in accordance with the provisions of this
Agreement and the Post-Closing Escrow Agreement (Exhibit B).

23. Buyer paid the purchase price and deposited the Holdback of
$3,300,000.00, equal to 10% of the Gross Purchase Price, into an escrow account.

24. On or about April 22, 2014, GFG, USS, and US Bank entered into an
Escrow Agreement (Exhibit B) providing that the “Escrow Agent has agreed to
accept, hold, and disburse the funds deposited with it and the earnings thereon in
accordance with the terms of this Escrow Agreement.

25. Per the terms of the Escrow Agreement, USS deposited $3,300,000.00
into the US Bank escrow account. On or about February 3, 2015, USS and GFG
agreed to release $2,091,115 from the escrow account to the S&S Shareholders,
which left approximately $1,208,885.00 in the escrow account which, plus accrued
interest, remains in the escrow account to the current time.

26. The S&S Shareholders transferred all outstanding shares of S&S to
USS per the terms of the Sale Agreement.

27. USS now disputes Plaintiffs’ right to the escrow funds, causing a real,
justiciable controversy over the ownership and right to the $1,208,885.00 plus
interest currently in the escrow account.

28. Plaintiffs performed all their duties and obligations pursuant to the Sale
Agreement.

29. Any claims by USS for alleged breach of contract related to the Sale

Agreement are now barred by the statute of limitations.

COUNT L—- UNJUST ENRICHMENT

30. Plaintiffs incorporate by reference the foregoing paragraphs of this

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COMPLAINT FOR DECLARATORY JUDGMENT

 
 

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| || Complaint as though fully set forth herein.

2 31. Defendant US Bank accepted and retained the $3,300,000.00 into an
3 |} escrow account and has failed to provide the remaining balance of $1,208,885.00 in
4} the escrow account to Plaintiffs despite the terms of the Escrow Agreement.

5 32. Defendant has knowingly benefited by retaining these funds despite
Plaintiffs* right to receive the same.

33. As a result of Defendant’s unjust enrichment, Plaintiffs have been

COUNT II — REQUEST FOR INJUNCTIVE RELIEF

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8 || damages in an amount not less than $1,208,885.00.

9

0) 34. Plaintiffs incorporate by reference the foregoing paragraphs of this

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Complaint as though fully set forth herein.
12 35. The Escrow Agreement between the parties provides that the funds
13 || should be released to Plaintiffs per Joint Written Direction by the parties or, in the

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14 || event of a dispute between the parties, pay into court the Escrow Funds.
15 36. As Defendant USS has refused to mutually agree that US Bank release

the funds, Plaintiffs are left with no recourse but to request an injunction from this

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17 || Court ordering Defendant USS to instruct US Bank to disburse the approximately
18 || $1,208,885.00 plus accrued interest in the Escrow Account to Plaintiffs.

19 37. Plaintiffs are entitled to such relief, per the terms of the Escrow
20 || Agreement and Sales Agreement.

21 COUNT Ul- REQUEST FOR DECLARATORY RELIEF

22 38. Plaintiffs incorporate by reference the foregoing paragraphs of this
23 | Complaint as though fully set forth herein.

24 39. The Escrow Agreement between the parties provides that the funds
25 | should be released to Plaintiffs per Joint Written Direction by the parties or, in the

26 || event of a dispute between the parties, pay into court the Escrow Funds.

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40. As Defendant USS has refused to mutually agree that US Bank release

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the funds, Plaintiffs are left with no recourse but to request declaratory relief from

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COMPLAINT FOR DECLARATORY JUDGMENT

 

 

 
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I ||this Court ordering Defendant US Bank to disburse the approximately
2 || $1,208,885.00 plus accrued interest in the Escrow Account to Plaintiffs.
3 4]. Plaintiffs are entitled to such relief, per the terms of the Escrow
4) Agreement and Sales Agreement.
5 WHEREFORE, Plaintiffs prays for judgment as follows:
6 1. An injunction ordering Defendant USS to instruct US Bank to release the
7 || $1,208,885.00 plus accrued interest in escrow to Plaintiffs;
8 2. A declaratory judgment that US Bank should release the $1,208,885.00
g | plus accrued interest in escrow to Plaintiffs;
10 3. Such other and further relief as the Court deems just and proper.
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3 DATED: February 4, 2019 MANNING & KASS
— ELLROD, RAMIREZ, TRESTER LLP
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19
20 By: /s/ Jenifer Wallis
5 Anthony J. Ellrod
21 Jenifer Wallis
22 Attorneys for Plaintiffs
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COMPLAINT FOR DECLARATORY JUDGMENT

 

 

 
